                                          Case 3:18-cv-02542-JSC Document 197 Filed 11/30/20 Page 1 of 2




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     SHERRY A. WILLIAM, et al.,                          Case No. 18-cv-02542-JSC
                                                        Plaintiffs,
                                   8
                                                                                             ORDER RE: DEFENDANT'S
                                                 v.                                          MOTIONS FOR SUMMARY
                                   9
                                                                                             JUDGMENT
                                  10     MORRISON & FOERSTER LLP,
                                                        Defendant.
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                                  12
Northern District of California
 United States District Court




                                  13          The Court is in receipt of Defendant’s motions for summary judgment and the parties’

                                  14   administrative motions to seal which accompanied the parties’ briefing regarding the same. Given

                                  15   the voluminous administrative motions to file under seal, and the oppositions, and replies thereto,

                                  16   the Court requests that the parties prepare joint statements for each brief identifying the parties’

                                  17   respective final positions regarding sealing as they did with Docket No. 170. They shall also file

                                  18   revised redacted and under seal versions of the briefs on summary judgment which correspond

                                  19   with the parties’ final positions regarding sealing. Finally, the parties shall provide the Court with

                                  20   chambers copies of both these filings: (1) the joint statements regarding sealing (including Docket

                                  21   No. 170), and (2) the unredacted (and highlighted) versions of each brief which corresponds with

                                  22   the parties’ final positions regarding sealing. The parties shall file these documents by December

                                  23   9, 2020 and submit chambers copies by December 10, 2020.

                                  24          In addition, the Court CONTINUES the hearing on the motions for summary judgment to

                                  25   January 21, 2021 at 9:00 a.m. via Zoom Webinar. The Court notes that it is extremely unlikely

                                  26   that this case will be able to proceed with an in-person jury trial in March of 2021. In light of this,

                                  27   if the parties would like to prepare a stipulation modifying the remainder of the pretrial schedule,

                                  28   they are welcome to do so. The Court will address scheduling issues at the hearing on January 21,
                                         Case 3:18-cv-02542-JSC Document 197 Filed 11/30/20 Page 2 of 2




                                   1   2021.

                                   2           IT IS SO ORDERED.

                                   3   Dated: November 30, 2020

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                                                                                     JACQUELINE SCOTT CORLEY
                                   6                                                 United States Magistrate Judge
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Northern District of California
 United States District Court




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